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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )
                                          )
                 Plaintiff,               )                 4:09CR3117
                                          )
          v.                              )
                                          )
TRAVES RUSH,                              )       MEMORANDUM AND ORDER
                                          )
                 Defendant.               )
                                          )


    IT IS ORDERED that:

    1.    The defendant’s Motion to Withdraw Defendant’s Motion to Continue Trial,
          (filing no. 81), is granted. Defendant’s Motion to Continue, (filing no. 77), is
          withdrawn and the government’s objection to a trial continuance, (filing no.
          79), is denied as moot.

    2.    The trial of this case remains scheduled to commence before Judge Warren K.
          Urbom on the 3 rd day of May, 2010, at 9:00 a.m. in Courtroom 4, United State
          Courthouse and Federal Building, 100 Centennial Mall north, Lincoln,
          Nebraska.

    DATED this 27 th day of April, 2010.

                                         BY THE COURT:

                                         s/ Cheryl R. Zwart
                                         United Stated Magistrate Judge
